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                             UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION


JAIME ZERMENO,                                                )
                                                              )
         Plaintiff,                                           )      No.
                                                              )
         vs.                                                  )       Judge
                                                              )
CICERO POLICE OFFICERS AARON                                  )       Magistrate
AGUAYO and RAUL TORRES and                                    )
TOWN OF CICERO,                                               )       Jury Demand
                                                              )
         Defendants.                                           )
                                                 COMPLAINT

JURISDICTION

         1.        The jurisdiction of the court is invoked pursuant to the Civil Rights Act, 42

U.S.C.   §    1983; the judicial code, 28   U.s .C. § §   1331 and 1343(a); and supplementary jurisdiction,

as codified in 28 U.S.C. §1367(a).

PARTIES

         2.        Plaintiff, Jaime Zermeno (hereinafter referred to as Plaintiff), is an Hispanic

resident of Cicero, Illinois.

          3.        At all relevant times herein, Defendant, Aaron Aguayo (hereinafter referred to as

Aguayo), was a duly appointed sworn police officer with the Defendant Town of Cicero, was

acting under color of state law, ordinance and/or regulation, and is sued in his individual

capacity.
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       4.     At all relevant times herein, Defendant, Raul Torres (hereinafter referred to as

Torres), was a duly appointed sworn police officer with the Defendant Town of Cicero, was

acting under color of state law, ordinance and/or regulation, and is sued in his individual

capacity.

       5.      At all relevant times herein, Defendant, Town of Cicero, was a municipal

corporation, duly incorporated under the laws of the State of Illinois and was the employer and

principal of the Defendant police officers Aguayo and Torres.



FACTS

        6.     On September 18, 2020, the Plaintiff was home in his residence in Cicero, Illinois

when the Defendants Aguayo and Torres entered his home, confronted him, and in an effort to

arrest the Plaintiff restrained and began to handcuff him.

        7.     During the effort to handcuff the Plaintiff, Defendant Aguayo struck the Plaintiff

about his body with several “knee strikes”.

        8.     The Plaintiff, to avoid further knee strikes and physical injury, exited his home

through the front door, and he was pursued by Defendants Aguayo and Torres.

        9.     Once outside and on his front lawn, the Plaintiff was forced to the ground by

Defendants Aguayo and Torres and then was struck repeatedly by Defendants Aguayo and

Torres with further “knee strikes” and kicks to and about the Plaintiff’s head, face, and body.

        10.    Plaintiff was then handcuffed by Defendants Aguayo and Torres and transported

to the Cicero Police Department.




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        11.        Plaintiff, upon his release from custody, sought and obtained medical treatment

for the injuries that he sustained as a result of the knee strikes and kicks from Defendants

Aguayo and Torres.

        12.        As a direct and proximate result of the actions of the Defendants Aguayo and

Tones, as detailed above, Plaintiff suffered bodily injury, pain and suffering, extreme mental

distress, anguish and humiliation, and was forced to seek medical attention and incur medical

bills and costs.



                                               COUNT I
               [42 U.S.C.    §   1983 Claim for Excessive Force/Failure to Intervenel

        13.        Plaintiff realleges paragraphs 1 through 12.

        14.        The acts of Defendants Aguayo and Tones physically striking Plaintiff and/or

failing to prevent such physical abuse violated Plaintiff’s rights under the Fourth Amendment to

the United States Constitution to be secure in his person, papers and effects against unreasonable

searches and seizures, and his right to due process under the Fourteenth Amendment to the

United States Constitution and thus violated 42 U.S.C.      §   1983.

        15.        The actions of Defendants Aguayo and Tones were the direct and proximate

cause of the violation of Plaintiffs Fourth Amendment rights, his injuries, mental suffering,

anguish, and humiliation, and expenses, as set forth more fully above.

        WHEREFORE, Plaintiff demands compensatory damages against Defendants Aguayo

and Tones, and because they acted maliciously, wantonly, or oppressively, punitive damages,

plus the costs of this action, attorney’s fees, and such other and additional relief as this Court

deems equitable and just.




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                                            COUNT!!
                                   [State Law Claim for Battery]

          16.    Plaintiff realleges paragraphs 1 through 12.

          17.    The acts of Defendants Aguayo and Torres as set forth above constitute battery

under the laws of the State of Illinois.      Further, such acts directly and proximately caused

Plaintiff’s injuries, pain and suffering, and severe emotional distress as alleged above.

          WHEREFORE, Plaintiff seeks compensatory damages against Defendants Aguayo and

Torres.     Additionally, because Defendants Aguayo and Torres acted maliciously, willfully,

wantonly, or oppressively, Plaintiff demands punitive damages from Defendants Aguayo and

Tones. Plaintiff also demands costs and whatever additional relief this Court deems equitable

and just.



                                           COUNT III
                 [State Law Claim for Intentional Infliction of Emotional Distress]

          18.     Plaintiff realleges paragraphs 1 through 17.

          19.     The conduct and actions of Defendants Aguayo and Tones, as set forth above,

were extreme and outrageous, were done intentionally, willfully and wantonly, and/or knowing

there was a high probability that their conduct would cause Plaintiff severe emotional distress as

set forth above.

           20.    As a direct and proximate result of Defendants Aguayo and Torres’ extreme and

 outrageous conduct, Plaintiff was injured and experienced severe emotional distress constituting

 intentional infliction of emotional distress under Illinois State law.

            WHEREFORE, Plaintiff demands compensatory damages against Defendants Aguayo

 and Tones plus the costs of this action and such other additional relief as this court deems just.



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                                       COUNT IV
             jClaim for Respondeat Superior Against Defendant Town of Cicero]


       21.    Plaintiff realleges paragraphs 1 through 12 and paragraphs 16 through 20.

       22.    Defendants Aguayo and Torres were, at all times material to this complaint,

employees and agents of the Defendant, Town of Cicero, were acting within the scope of their

employment, and their acts which violated state law are directly chargeable to the Defendant,

Town of Cicero, under the state law pursuant to respondeat superior.

       WHEREFORE, Plaintiff demands judgment for compensatory damages against the

Defendant, Town of Cicero, plus the costs of this action and whatever additional relief this Court

deems equitable and just.



                                       COUNT V
               j745 ILCS 10/9-102 Claim Against Defendant, Town of Cicero]


       23.     Plaintiff realleges paragraphs 1 through 22.

       24.     At all relevant times herein, the Defendant, Town of Cicero, was the employer of

Defendants Aguayo and Torres.

       25.     The Defendants Aguayo and Torres committed the acts alleged above under color

of law and in the scope of their employment as employees of the Defendant, Town of Cicero.

        WHEREFORE, Plaintiff, pursuant to 745 ILCS 10/9-102, demands judgment against the

Defendant, Town of Cicero, in the amounts awarded to the Plaintiff against Defendants Aguayo



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and Torres and/or for any settlement entered into between the Plaintiff and Defendants Aguayo

and Torres and for whatever additional relief this Court deems equitable and just.



Dated: September 13, 2021                             Respectfully submitted,




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                                                      Attorney for Plaintiff

                                                      Plaintiff demands trial by jury




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